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     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     RYAN SCOTT KERN
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7
8                            IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )       No. 2:07-MJ-0049 EFB
                                     )
12                  Plaintiff,       )
                                     )       STIPULATION AND ORDER
13        v.                         )       CONTINUING PRELIMINARY HEARING
                                     )
14   RYAN SCOTT KERN, et al.,        )
                                     )       Date:  October 21, 2008
15                  Defendants.      )       Time:  2:00 p.m.
                                     )       Judge: Kimberly J. Mueller
16   _______________________________ )
17
18        The parties (defendants Ryan Kern and Rahman Shadebadi and plaintiff,
19   United States of America) hereby stipulate through their                 respective
20   attorneys to continue the preliminary hearing scheduled for October 21, to
21   December 17, 2008, at 2:00 p.m.
22        Mr. Kern’s case was assigned to a different federal public defender
23   in light of the absence of his previously-assigned counsel.               In early
24   November, Mr. Kern is expected to testify in a homicide trial underway in
25   Superior   Court   in    Sacramento   County.    The   parties   agree    that   the
26   preliminary hearing should be continued pending his testimony. Because the
27   parties    anticipate     resolving   the   allegations   pending   against      both
28   defendants jointly, without an indictment, the parties agree that the case
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1    should also be continued as to defendant Shadebadi.               The parties are
2    involved in ongoing negotiations.
3          The parties further agree that the above reasons constitute good cause
4    to extend the time for preliminary hearing under Federal Rule of Criminal
5    Procedure 5.1, and that time within which the indictment must be filed
6    should be extended to December 17, 2008, pursuant to the Speedy Trial Act,
7    18 U.S.C. § 3161(h)(8)(A) and (B)(iv), for the reasons stated above.
8                                              Respectfully submitted,
9                                              DANIEL BRODERICK
                                               Federal Defender
10
11   Dated:    October 17, 2008                /s/ T. Zindel
                                               TIMOTHY ZINDEL
12                                             Assistant Federal Defender
                                               Attorney for RYAN SCOTT KERN
13
14   Dated:    October 17, 2008                /s/ T. Zindel for P. Kmeto
                                               PETER KMETO
15                                             Attorney at Law
                                               Attorney for RAHMAN SHADEBADI
16
                                               McGREGOR SCOTT
17                                             United States Attorney
18   Dated:    October 17, 2008                /s/ T. Zindel for W. Wong
                                               WILLIAM S. WONG
19                                             Assistant U.S. Attorney
20
21                                        O R D E R
22         The preliminary hearing is continued to December 17, 2008 at 2:00
23   p.m., the Court finding good cause, and time is excluded as set forth
24   above and for the reasons set forth above.
25         IT IS SO ORDERED.
26   Dated:    October 20, 2008
27
28


     Stip. & O. Continuing Prelim.            -2-
